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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


CONSERVATION LAW FOUNDATION, INC.,

       Plaintiff,                                    Civil Action No. 3:21-cv-00933-JAM
                         v.

SHELL OIL COMPANY, EQUILON
ENTERPRISES LLC D/B/A SHELL OIL
PRODUCTS US, SHELL PETROLEUM, INC.,
TRITON TERMINALING LLC, and MOTIVA
ENTERPRISES LLC,

       Defendants.


                 CONSENT MOTION TO VACATE AND RESCHEDULE
               DEADLINE UPON RESOLUTION OF DISCOVERY MOTIONS

       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, Plaintiff Conservation Law

Foundation, Inc. (“CLF” or “Plaintiff”) respectfully requests that the Court (i) vacate the August

11, 2023 deadline to submit requests for admissions, and (ii) reschedule this deadline, along with

the deadlines for close of fact discovery and expert disclosure that are currently held in abeyance,

upon the resolution of six pending discovery motions. Defendants Shell USA, Inc. f/k/a Shell Oil

Company, Equilon Enterprises LLC d/b/a Shell Oil Products US, Shell Petroleum, Inc., Triton

Terminaling LLC, and Motiva Enterprises LLC (“Defendants”) consent to this Motion. In support

of this Motion, CLF states the following:

       1.       Under the Scheduling Order, the current deadline to submit requests for admissions

is August 11, 2023. See Scheduling Order, ECF 131.

       2.       On January 27, 2023, CLF asked this Court to revise all forthcoming deadlines in

the Scheduling Order, citing ongoing discovery disputes. See CLF Mtn. to Stay Deadlines, ECF

166 at 7–12.


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       3.      On February 6, 2023, this Court granted in part and denied in part CLF’s Motion to

Stay. See Order on Mtn. to Limit Discovery, ECF 176. In its Order, this Court adjourned the

deadlines for the close of fact discovery and expert disclosures pending resolution of CLF’s

Renewed Motion to Compel (ECF 149). Id. The Court did not adjourn other subsequent deadlines,

including the forthcoming deadline for requests for admissions. See id.

       4.      CLF’s Renewed Motion to Compel is still pending before this Court, as are five

other discovery motions: CLF’s Motion for Additional Depositions (ECF 181), CLF’s Motion to

Seal (ECF 182), CLF’s Motion for Protective Order (ECF 200), CLF’s Motion to Compel

Defendants’ Depositions and for Sanctions (ECF 203), and Defendants’ Cross-Motion for

Protective Order and for Sanctions (ECF 215).

       5.      For consistency in scheduling, CLF requests that this Court vacate the August 11,

2023 deadline for requests for admissions. CLF also requests that the Court reschedule this

deadline, along with the fact and expert discovery deadlines currently held in abeyance, upon

resolution of the six pending discovery motions.

       6.      Good cause exists for granting this Motion. The schedules proposed by the Parties

and adopted by the Court in this case show that the fact and expert discovery deadlines are intended

to be interdependent and sequential. See, e.g., Joint Rule 26(f) Report, ECF 40 at 13; Scheduling

Order, ECF 52; Joint Mtn. to Amend Schedule, ECF 99 at 2 (“The Parties also agree that the

discovery schedule would benefit from a separate and later deadline for propounding requests for

admission.”); Scheduling Order, ECF 131. With fact discovery functionally stayed pending

resolution of several motions and without any expert discovery in this case thus far, CLF cannot

effectively use the Rule 36 device at this time. No party will be prejudiced by this request because




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both Parties consent to the Motion and have previously requested scheduling orders that accord

with this Motion.

       7.      For the foregoing reasons, CLF respectfully requests that this Court vacate the

deadline for requests for admissions and reschedule this deadline, as well as the deadlines held in

abeyance, upon resolution of the six discovery motions before this Court.

Dated: August 3, 2023                      Respectfully submitted,

                                           CONSERVATION LAW FOUNDATION, Inc., by its
                                           attorneys

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